Case 2:05-CV-02382-.]DB-STA Document 26 Filed 07/20/05 Pagé 1 of 2 Page|D 17

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IN THE UNITED sTATF.:s DISTRICT coURT FoR THE “'~,-~- D-C-
wEsTERN DISTRICT oF TENNESSEE 05 JU
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UNITED STATES OF AMERICA,

 

Plaintiff,
Civil No. 05-2382-B/A
_v_

NATIONAL BANK OF COMMERCE,

Defendant/Third-Party Plaintiff

VVVVVVVVV`_¢V

_v-_
SPECIALTY FOODS, LLC, and PAUL T. CAPPS

Third~Party Defendants.

 

DEFAULT

 

Upon the Motion, Memorandum, and Affidavit of the
defendant/third-party plaintiff, National Bank of Commerce, filed
July 19, 2005, DEFAULT IS HEREBY ENTERED against the named third-
party defendants, Specialty Foo§§l LLC and Paul T. Capps, pursuant
to FRCvP 55(a).

In accordance to FRCvP 4, service of process was executed
against the defendants.

For good cause shown, the court may set aside this entry for
default, pursuant to Rule 55(c).

Entered this 20th day of Ju:Ly, 2005.

THOMAS M. GOULD,r
Clerk of Court

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BY:

Deputy Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CV-02382 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

